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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT COURT OF OREGON
                                PORTLAND DIVISION


 JUSTIN BURLEY-BEAVERS,                        *
 an individual,                                *
                                               *
        PLAINTIFF,                             *
 v.                                            *
                                               *      Case No. 3:24-CV-00783
 SAPHIRE PETRO, INC.,                          *
 a corporation,                                *
                                               *
        DEFENDANT.                             *



                                          COMPLAINT

        Plaintiff Justin Burley-Beavers (“Burley-Beavers” or “Plaintiff”) hereby sues Defendant,

SAPHIRE PETRO, INC., a corporation, (hereinafter “Defendant”) pursuant to the Americans with

Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”), and its implementing regulations, the ADA’s

Accessibility Guidelines, 28 C.F.R. Part 36 (“ADAAG”) and alleges as follows:

                                PRELIMINARY STATEMENT

       1.       Though not required by the ADA, Plaintiff attempted to resolve this matter prior

to filing the present complaint but was unable to do so.

       2.       Defendant’s ADA violations create real and significant barriers to entry for

disabled persons such as Plaintiff. Pursuant to Title III of the ADA, Plaintiff seeks declaratory

and injunctive relief requiring Defendant to (1) remedy the violations identified herein and (2)

enact and adhere to a policy that ensures the proper maintenance of the property to avoid future

ADA violations.

                                JURISDICTION AND PARTIES

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        3.       This is an action for declaratory and injunctive relief pursuant to Title III of the

ADA. This Court is vested with original jurisdiction over the action pursuant to 28 U.S.C. §§ 1331

and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et seq., based upon Defendant,

SAPHIRE PETRO, INC.’s, failure to remove physical barriers to access and violations of Title III

of the ADA.

        4.       Venue is properly located in the DISTRICT COURT OF OREGON IN THE

PORTLAND DIVISION pursuant to 28 U.S.C. § 1391(b) because venue lies in the judicial district

of the property situs or the judicial district in which a substantial part of the events or omissions

giving rise to Plaintiff’s claims occurred. The Defendant’s property is located in and does business

within this judicial district and all events giving rise to this lawsuit occurred in this judicial district.

        5.       Plaintiff, Justin Burley-Beavers, is and has been at all times relevant to the instant

matter, a natural person residing in Oregon and is sui juris.

        6.       Plaintiff is an individual with disabilities as defined by the ADA.

        7.       Plaintiff is substantially limited in performing one or more major life activities,

including but not limited to: walking and standing.

        8.       Plaintiff uses a wheelchair for mobility purposes.

        9.       Plaintiff is also an independent advocate of the rights of similarly situated disabled

persons and is a “tester” for the purpose of enforcing Plaintiff’s civil rights, monitoring,

determining and ensuring whether places of public accommodation are in compliance with the

ADA. Plaintiff’s motivation to return to a location, in part, stems from a desire to utilize ADA

litigation to make his home community more accessible for Plaintiff and others; and pledges to do

whatever is necessary to create the requisite standing to confer jurisdiction upon this Court so an




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injunction can be issued correcting the numerous ADA violations on the Subject Property,

including returning to the Subject Property as soon as it is accessible (“Advocacy Purposes”).

       10.     Defendant, SAPHIRE PETRO, INC., is a corporation conducting business in the

State of Oregon and within this judicial district.

                                  FACTUAL ALLEGATIONS

       11.     On or about September of 2023, Plaintiff attempted to but was deterred from

patronizing and/or gaining equal access as a disabled patron to the Chevron Gas Station located

at 15710 Southeast McLoughlin Boulevard, Milwaukie, OR 97267 (“Subject Facility”, “Subject

Property”).

       12.     SAPHIRE PETRO, INC. is the owner, lessor, and/or operator/lessee of the real

property and improvements that are the subject of this action, specifically the Chevron Gas Station

and its attendant facilities, including vehicular parking and common exterior paths of travel within

the site identified by the Clackamas County Assessor parcel identification number 00290189

(“Subject Facility”, “Subject Property”).

       13.     Plaintiff lives within thirty (30) miles of the Subject Property. Because the Subject

Property is located on McLoughlin Boulevard, a Clackamas County thoroughfare that he frequents

routinely, he is often where the Subject Property is located and travels in and about the immediate

area of the Subject Property numerous times every month, if not every week.

       14.      Plaintiff’s access to the Subject Property and/or full and equal enjoyment of the

goods, services, facilities, privileges, advantages and/or accommodations offered therein were

denied and/or limited because of his disabilities, and he will be denied and/or limited in the future

unless and until Defendant, SAPHIRE PETRO, INC., is compelled to remove the physical barriers




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to access and correct the ADA violations that exist at the Subject Property, including those set

forth in this Complaint.

       15.     Plaintiff has visited, i.e. attempted to patronize, the Subject Property on multiple

prior occasions, and at least once before as a patron and advocate for the disabled. Plaintiff intends

on revisiting the Subject Property within six months of the filing of this Complaint or sooner, as

soon as the barriers to access detailed in this Complaint are removed. The purpose of the revisit is

to be a regular patron to determine if and when the Subject Property is made accessible, and to

maintain standing for this lawsuit for Advocacy Purposes.

       16.     Plaintiff intends on revisiting the Subject Property to enjoy the same experiences,

goods, and services available to Defendant’s non-disabled patron as well as for Advocacy

Purposes, but does not intend to continue to repeatedly re-expose himself to the ongoing barriers

to equal access and engage in the futile gesture of attempting to patronize the Subject Property, a

business of public accommodation known to Plaintiff to have numerous and continuing barriers to

equal access for wheelchair users.

       17.     Plaintiff recently traveled to the Subject Property as a patron and as an independent

advocate for the disabled, encountered and/or observed the barriers to access that are detailed in

this Complaint, engaged those barriers where physically possible, suffered legal harm and legal

injury, and will continue to suffer such harm and injury as a result of the illegal barriers to equal

access present at the Subject Property.

       18.     Plaintiff has a fundamental right as established under the ADA to patronize any

place of public accommodation as any person who is not disabled has.




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       19.      Plaintiff’s day-to-day life has been negatively affected by the barriers to entry at

the Subject Property, as his fundamental right to patronize any place of public accommodation at

his choosing has been diminished by Defendant’s non- compliance with the ADA.

       20.     Plaintiff has no obligation to only patronize places of public accommodation that

are ADA compliant.

       21.     If barriers to entry are not removed at the Subject Property, it will place undue

hardship, cause Plaintiff loss of opportunity, and unduly force Plaintiff to “search” for a place of

public accommodation to patronize that is ADA compliant.

                      COUNT I – CLAIM FOR INJUNCTIVE RELIEF
                         (Against Defendant for ADA Violations)

       22.     The effective date of Title III of the ADA was January 26, 1992 (or January 26,

1993, if a defendant has 10 or fewer employees and gross receipts of $500,000 or less). 42 U.S.C.

§ 12181; 28 C.F.R. § 36.508(a).

       23.     The Subject Property is a public accommodation and service establishment.

       24.     Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the Department

of Justice and Office of Attorney General promulgated federal regulations to implement the

requirements of the ADA. 28 C.F.R. Part 36.

       25.     Public accommodations were required to conform to these regulations by January

26, 1992 (or by January 26, 1993, if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181 et seq.; 28 C.F.R. § 36.508(a).

       26.     The Subject Property must be, but is not, in compliance with the ADA and the

ADAAG.

       27.     Plaintiff has attempted to, and has to the extent possible, accessed the Subject

Property in his capacity as a patron at the Subject Property and as an independent advocate for

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the disabled, but could not fully do so because of his disabilities resulting from the physical

barriers to access, dangerous conditions and ADA violations that exist at the Subject Property

that preclude and/or limit his access to the Subject Property and/or the goods, services, facilities,

privileges, advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

       28.      Plaintiff intends to visit the Subject Property again in the very near future as a

patron and as an independent advocate for the disabled, in order to utilize all of the goods,

services, facilities, privileges, advantages and/or accommodations commonly offered to able-

bodied patrons of the Subject Property but will be unable to fully do so because of his disability

and the physical barriers to access, dangerous conditions and ADA violations that exist at the

Subject Property that preclude and/or limit his access to the Subject Property and/or the goods,

services, facilities, privileges, advantages and/or accommodations offered therein, including those

barriers, conditions and ADA violations more specifically set forth in this Complaint.

       29.      Defendant, SAPHIRE PETRO, INC., has discriminated against Plaintiff (and

others with disabilities) by denying his access to, and full and equal enjoyment of the goods,

services, facilities, privileges, advantages and/or accommodations of the Subject Property, as

prohibited by, and by failing to remove architectural barriers as required by, 42 U.S.C. §

12182(b)(2)(A)(iv).

       30.      Defendant, SAPHIRE PETRO, INC., will continue to discriminate against Plaintiff

and others with disabilities unless and until SAPHIRE PETRO, INC. is compelled to remove all

physical barriers that exist at the Subject Property, including those specifically set forth herein,

and make the Subject Property accessible to and usable by Plaintiff and other persons with

disabilities.


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      31.     A specific list of unlawful physical barriers, dangerous conditions and ADA

violations which Plaintiff experienced and/or observed that precluded and/or limited Plaintiff’s

access to the Subject Property and the full and equal enjoyment of the goods, services, facilities,

privileges, advantages and accommodations of the Subject Property include, but are not limited

to:


                              ACCESSIBLE ROUTES/PARKING


              a. The paint delineating the designated accessible parking space
                  and access aisle is not being maintained so that it clearly marks
                  the accessible parking location in violation of 28 CFR § 36.211,
                  Section 4.6 of the 1991 ADAAG, and Section 502 of the 2010
                  ADAAG.

              b. The plaintiff could not safely utilize the parking facility because
                  the designated accessible parking space is not level in all
                  directions because of Defendant’s practice of failing to inspect
                  and maintain the parking surface in violation of 28 CFR §
                  36.211, Section 4.6.3 of the 1991 ADAAG and Section 502.4 of
                  the 2010 ADAAG.

              c. The plaintiff could not safely utilize the parking facility because
                  the accessible aisle is not level in all directions because of
                  Defendant’s practice of failing to inspect and maintain the
                  parking surface in violation of 28 CFR § 36.211, Section 4.6.3
                  of the 1991 ADAAG and Section 502.4 of the 2010 ADAAG.

              d. There are slope variations at the purported accessible route
                  connecting the sidewalk to the entrance of the Subject Facility
                  with changes in direction that have caused a compound cross
                  slope. This is in violation of Section 4.3.2 of the 1991 ADAAG
                  and Section 206.2.1, 402, and 403.3 of the 2010 ADAAG

              e. The plaintiff could not safely traverse the path of travel from the
                  parking facility to the store entrance as the designated accessible
                  route has excessive cross slopes and unpermitted changes in the
                  level present. Violation: The path of travel contains excessive


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       slopes in violation of Sections 4.3.7 and 4.3.8 of the 1991
       ADAAG and Sections 403.3 and 403.4 of the 2010 ADAAG.

    f. The ramp to the accessible entrance (the only means of access to
       wheelchair users) has a run that exceeds the maximum slope
       requirement (8.33%) set forth in Section 4.7.2 of the 1991
       ADAAG and Section 406.1 of the 2010 ADAAG.

    g. The plaintiff could not safely traverse the path of travel from the
       parking area to the entry doors because the ramp lacks a level
       top landing. Violation: The ramp has no level landing area in
       violation of Section 4.8.4 of the 1991 ADAAG and Sections 405
       and 406 of the 2010 ADAAG.

    h. The designated accessible parking space is not located on the
       shortest accessible route to the accessible entrance. This is in
       violation of 28 CFR § 36.211, Sections 4.6.3 of the 1991
       ADAAG, and Sections 206.4, 208.3, and 502 of the 2010
       ADAAG.

    i. The pressure setting on the accessible restroom door closer has
       not been maintained properly by Defendant, which has caused
       the pressure required to open/close the restroom door to increase
       with time and use such that the restroom door requires excessive
       force to open. Violation: The restroom door requires more than
       the maximum allowable opening force for an interior hinged
       door (5-foot pounds-force) in violation of Section 4.13.11 of the
       1991 ADAAG and Section 404.2.9 of the 2010 ADAAG
       Standards.

    j. The accessible restroom entrance door has a coat hook which is
       not at the required height. Violation: ADA-compliant door
       hardware is not provided on the restroom doors in violation of
       Section 4.13.9 of the 1991 ADAAG and Sections 309.4, 404.2.7,
       and 604.8.2 of the 2010 ADAAG.

    k. The plaintiff could not access the soap dispenser independently
       as it was mounted too high to reach. Violation: The soap
       dispenser in the accessible restroom is mounted at a
       noncompliant height in violation of the minimum reach ranges
       set forth in Section 4.2.5 and Figure 5 of the 1991 ADAAG and
       Section 308.3 of the 2010 ADAAG.

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    l. The plaintiff could not safely transfer from her wheelchair to the
       toilet because dispensers obstructed the grab bars. Violation:
       ADA-compliant grab bars are not provided in the restroom in
       violation of 28 CFR § 36.211, Sections 4.16.4, 4.26 and Figure
       29 of the ADAAG and Section 604, 604.5.2 and 604.7 of the
       2010 ADA Standards, whose resolution is readily achievable.

    m. The toilet seat protection paper dispenser is mounted too far
       from the toilet for access to wheelchair users in violation of
       Section 4.16.6 of the 1991 ADAAG and Section 604.7 of the
       2010 ADAAG.

    n. The toilet is too close to the side wall or partition in the
       ambulatory assessable toilet compartment. This violates Section
       4.17 of the 1991 ADAAG and Section 604 of the 2010 ADAAG.


                       MAINTENANCE PRACTICES

    a. Defendant has a practice of failing to maintain the accessible
       features of the facility, creating barriers to access for the
       Plaintiff, as set forth herein, in violation of 28 CFR § 36.211.
       This practice prevented access to the plaintiff equal to that of
       Defendant’s able-bodied customers causing Plaintiff loss of
       opportunity.

    b. Defendant has a practice of failing to maintain the accessible
       elements at the Subject Facility by neglecting their continuing
       duty to review, inspect, and discover transient accessible
       elements which by the nature of their design or placement,
       frequency of usage, exposure to weather and/or other factors, are
       prone to shift from compliant to noncompliant so that said
       elements may be discovered and remediated.

    c. Defendant has failed and continues to fail to alter their
       inadequate maintenance practices to prevent future recurrence
       of noncompliance with dynamic accessible elements at the
       Subject Facility in violation of 28 CFR § 36.211, the 1991
       ADAAG, and the 2010 ADAAG. These violations, as set forth
       hereinabove, made it impossible for Plaintiff to experience the
       same access to the goods, services, facilities, privileges,

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                  advantages and accommodations of the Subject Facility as
                  Defendant’s able-bodied patrons and caused Plaintiff loss of
                  opportunity.

               d. Defendant has failed to modify their discriminatory maintenance
                  practices to ensure that, pursuant to their continuing duty under
                  the ADA, the Subject Property remains readily accessible to and
                  usable by disabled individuals, including Plaintiff, as set forth
                  herein, in violation of 28 CFR § 36.302 and 36.211. This failure
                  by Defendant prevented access to the plaintiff equal to that of
                  Defendant’s able-bodied customers causing Plaintiff loss of
                  opportunity.

       32.     The discriminatory violations described above are not an exhaustive list of the

Defendant’s current barriers to equal access and violations of the ADA because Plaintiff was

unable to access and assess all areas of the subject premises due to the architectural barriers

encountered. A complete list of the subject location’s ADA violations affecting the Plaintiff as a

wheelchair user, and the remedial measures necessary to remove same, will require an on-site

inspection by Plaintiff’s representatives pursuant to Federal Rule of Civil Procedure 34. Once the

Plaintiff personally encounters discrimination, as alleged above, or learns of discriminatory

violations through expert findings of personal observation, has actual notice that the Defendant

does not intend to comply with the ADA.

       33.     The Defendant has a practice of failing to maintain the accessible elements at the

Subject Property by neglecting their continuing duty to review, inspect, and discover transient

accessible elements which by the nature of its design or placement, frequency of usage, exposure

to weather and/or other factors, are prone to shift from compliant to noncompliant, so that said

elements are discovered and remediated. Defendant has failed and continue to fail to alter their

inadequate maintenance practices to prevent future recurrence of noncompliance with dynamic

accessible elements at the Subject Property in violation of 28 CFR §§ 36.202 and 36.211. These


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violations, as referenced hereinabove, made it impossible for Plaintiff, as a wheelchair user, to

experience the same access to the goods, services, facilities, privileges, advantages and

accommodations of the Subject Property as Defendant’s able-bodied patrons.

       34.     Accessible elements at the Subject Property have been altered and/or constructed

since 2010.

       35.     The foregoing violations are violations of the 1991 ADAAG, and the 2010

ADAAG, as adopted by the U.S. Department of Justice. In instances where the 2010 ADAAG

standards do not apply, the 1991 ADAAG standards apply, and all of the alleged violations set

forth herein can be modified to comply with the 1991 ADAAG standards.

       36.     The removal of the physical barriers, dangerous conditions and ADA violations

alleged herein is readily achievable and can be accomplished and carried out without significant

difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42 U.S.C. § 12181(9); 28 C.F.R. § 36.304.

       37.     Each of the violations alleged herein is readily achievable to modify to bring the

Subject Property into compliance with the ADA.

       38.     Removal of the physical barriers and dangerous conditions present at the Subject

Property is readily achievable because of the site conditions at the Subject Property, the structural

design of the subject facility, and the straightforward nature of the necessary modifications.

       39.     To assist businesses in offsetting the costs associated with complying with the ADA

and removing barriers to access for individuals with disabilities, Section 44 of the IRS Code

provides a tax credit for small business owners, and Section 190 of the IRS Code provides a tax

deduction for all business owners, including the Defendant.

       40.     Removal of the physical barriers and dangerous conditions at the Subject Property

is readily achievable because of the relative low cost of the necessary modifications and the


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Defendant has the financial resources to make the modifications, including the financial assistance

made available to Defendant by the government pursuant to Section 44 and/or Section 190 of the

IRS Code.

       41.     By continuing to maintain and/or operate the Subject Property with discriminatory

conditions in violation of the ADA, Defendant contributes to Plaintiff’s sense of isolation and

segregation and deprive Plaintiff of the full and equal enjoyment of the goods, services, facilities,

privileges, and accommodations available to able bodied individuals of the general public.

       42.     Defendant is required to remove the existing architectural barriers to the physically

disabled when such removal is readily achievable for their places of public accommodation that

have existed prior to January 26, 1992, 28 CFR 36.304(a); additionally, if there has been an

alteration to Defendant’s place of public accommodation since January 26, 1992, then Defendant

is required to ensure to the maximum extent feasible, that the altered portions of the facility are

readily accessible to and usable by individuals with disabilities, including people who use

wheelchairs, 28 CFR 36.402; and finally, if the Defendant’s facilities were designed and

constructed for first occupancy subsequent to January 26, 1993, as defined in 28 CFR 36.401, then

the Defendant’s facilities must be readily accessible to and useable by individuals with disabilities

as defined by the ADA. To date, Defendant has failed to comply with this mandate.

       43.     Plaintiff is without adequate remedy at law and is suffering irreparable harm and

reasonably anticipates that he will continue to suffer irreparable harm unless and until Defendant,

SAPHIRE PETRO, INC., is required to remove the physical barriers, dangerous conditions and

ADA violations that exist at the Subject Property, including those alleged herein. Considering the

balance of hardships between the Plaintiff and Defendant, a remedy in equity is warranted.

       44.     Plaintiff’s requested relief serves the public interest.


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       45.     Plaintiff’s counsel is entitled to recover his reasonable attorneys’ fees and costs of

litigation from Defendant, SAPHIRE PETRO, INC., pursuant to 42 U.S.C. §§ 12188, 12205 and

28 CFR 36.505. Plaintiff will be denied full and equal access to the subject premises, as provided

by the ADA unless the injunctive relief requested herein is granted.

       46.     Pursuant to 42 U.S.C. § 12188, this Court is vested with the authority to grant

Plaintiff injunctive relief; including an Order to alter the subject facilities to make them readily

accessible to, and useable by, individuals with disabilities to the extent required by the ADA, and

closing the subject facilities until the requisite modifications are completed, and ordering

Defendant to fulfill their continuing duty to maintain the accessible features at the premises in the

future as mandated by 28 CFR 36.211.

       WHEREFORE, the Plaintiff prays as follows:

       A.      That the Court find Defendant, SAPHIRE PETRO, INC., in
               violation of the ADA and ADAAG;

       B.      That the Court enter an Order requiring Defendant, SAPHIRE
               PETRO, INC., to (i) remove the physical barriers to access and (ii)
               alter the Subject Property to make the Subject Property readily
               accessible to and useable by individuals with disabilities to the full
               extent required by Title III of the ADA;

       C.      That the Court enter an Order directing Defendant, pursuant to 28
               C.F.R. §36.211, to fulfill their continuing duty to maintain their
               accessible features and equipment so that the facility remains
               accessible to and useable by individuals with disabilities to the full
               extent required by Title III of the ADA;

       D.      That the Court enter an Order directing Defendant to implement and
               carry out effective policies, practices, and procedures to maintain
               the accessible features and equipment pursuant to 28 C.F.R. §36.302
               and 28 C.F.R. §36.211.

       E.      That the Court enter an Order directing Defendant to evaluate and
               neutralize their policies and procedures towards persons with
               disabilities for such reasonable time so as to allow them to undertake
               and complete corrective procedures;

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      F.     An award of attorneys’ fees, costs (including expert fees), and
             litigation expenses pursuant to 42 U.S.C. § 12205 and an award of
             monitoring fees associated with insuring that the Defendant is in
             compliance with the ADA.

      G.     An award of interest upon the original sums of said award of
             attorneys’ fees, costs (including expert fees), and other expenses of
             suit; and

      H.     Such other relief as the Court deems just and proper, and/or is
             allowable under Title III of the Americans with Disabilities Act.




Dated this May 10, 2024


                                    Respectfully submitted,

                                    By: /s/ Jessica Molligan__________
                                    Jessica Molligan, OSB #001823
                                    Counsel for Plaintiff
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